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                                                                       FILED: August 30, 2023


                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT

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                                             No. 21-2223
                                      (3:19-cv-00491-RJC-DCK)
                                        ___________________

        AZUCENA ZAMORANO ALEMAN, individually and as Administrator of the
        Estate of RUBIN GALINDO CHAVEZ

                      Plaintiff - Appellant

        v.

        CITY OF CHARLOTTE; DAVID GUERRA, individually and officially

                      Defendants - Appellees

         and

        COURTNEY SUGGS, individually and officially

                      Defendant

                                  _____________________________

                                TEMPORARY STAY OF MANDATE
                                 _____________________________

               Under Fed. R. App. P. 41(b), the filing of a timely petition for rehearing or

        rehearing en banc stays the mandate until the court has ruled on the petition. In

        accordance with Rule 41(b), the mandate is stayed pending further order of this court.


                                                                    /s/Patricia S. Connor, Clerk




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